      Case 3:19-cv-01537-BEN-JLB Document 6 Filed 08/20/19 PageID.32 Page 1 of 1
                                     United States District Court
                                        SOUTHERN DISTRICT OF CALIFORNIA
Miller et al.
                                                                           Case No. 19-cv-01537-JAH-AGS
                                                         Plaintiff,
                                                  V.
                                                                            REPORT OF CLERK AND ORDER
Becerra et al.                                                               OF TRANSFER PURSUANT TO
                                                                                "LOW-NUMBER" RULE
                                                       Defendant.



Re:         "Low-Numbered Case No.:               17-cv-01017-BEN-JLB
            Title:     Duncan et al v. Becerra et al
            Nature of Case:           950 Constitutional - State Statute

The above "low-numbered" case and the present case appear:
               to arise from the same or substantially identical transactions, happenings or events; or
               involve the same or substantially the same parties or property; or
               involve the same patent or trademark or different patents or trademarks covering the same or
               substantially identical things; or
               call for determination of the same or substantially identical questions of law; or
               where a case is refiled within one year of having previously been terminated by the Court; or .
      (6)      for other reasons would entail unnecessay duplication of labor if heard by different judges.
New Case#:              19-cv-01537-BEN-JLB

This case was transferred pursuant to the Low-Number Rule. The related cases have been assigned to
the same judge and magistrate judge but they are NOT CONSOLIDATED at this point; all pleadings
must still be filed separately in each case.
                                                                       John Morrill, Clerk of Court,
Dated:                8/16/19                                              By: s/T. Ferris
                                                                                                  T. Ferris, Deputy


                                         the above-entitled case to my calen
                                     der "Low-Number" Rule.


                                                                                      Roger T. B 1tez
                                                                                 United States istrict Judge
It appearing that the above-entitled case is properly transferable in accordance with the provisions of
the Low-Number Rule, IT IS HEREBY ORDERED that this case is I transferred to the calendar of
Judge Roger T. Benitez and Magistrate Judge Jill L. Burkhardt for al.~fifber l{~o~~din~
Dated:               ~ -;20-- \ '1                                               ~ - ~~
                                                                           ---,/------~~-----
                                                                                      John A. Houston
                                                                                 United States District Judge
